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IN THE UNITED STATES DISTRICT COURT l

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Plaintiff,

vs. No. 04-2806MaV
MEMPHIS AREA MEDICAL CENTER FOR
WOMEN, and BARBARA WOTHERSPPON,
M.D.,

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Defendants.

 

ORDER GRANTING DEFENDANTS' MOTION TO COMPEL

 

Before the court is the June 13, 2005 motion of the defendant,
Barbara Wotherspoon, M.D., pursuant to Rule 37 of the Federal Rules
of Civil Procedure, to compel the plaintiff to produce all records
regarding any and all care, treatment, testing and evaluation
performed by Jolene Bailey, PhD.

Pursuant to Local Rule 7.2(a)(2), responses to nwtions in
civil cases are to be filed within fifteen days after service of
the motion. The plaintiff has not filed a response to this motion,
and the time for responding has now expired. Rule 7.2(a)(2)
further provides that “[f]ailure to respond timely to any motion .
. . may be deemed good grounds for granting the motion."

In the absence of any response by the plaintiff, the

defendants' motion to compel is granted. The plaintiff is directed

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to produce all records regarding any and all care, treatment,
testing and evaluation performed by Jolene Bailey, PhD. within
twenty (20) days of the date of entry of this order.

The plaintiff is warned that, henceforth, failure to comply
with proper discovery requests and/or orders of the court will lead
to dismissal of her complaint.

IT IS SO ORDERED this 5th day of \'.l'1.:lly'lr 2005.

DLL_¢z`/u `Z/ ZwM//
IANE K. VESCOVO

UNITED STATES M.AGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:04-CV-02806 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Brian H. Neely

LAW OFFICE OF BRIAN H. NEELY
P.O. Box 1032

Tupelo, MS 38802

James T. McColgan

JA1\/[ES T. MCCOLGAN & ASSOCIATES, PLLC
1661 International Place Drive

Ste. 400

1\/lemphis7 TN 38120

J ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

William W. Housley

LAW OFFICE OF WILLIAM W. HOUSLEY, JR
110 Robins St.

Tupelo, MS 38804

Jeffrey L. Griftin

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

